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                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


RYAN MERHOLZ and MELVYN KLEIN,                  Case No.: 3:20-cv-00557-VAB
Derivatively on Behalf of WORLD WRESTLING
ENTERTAINMENT, INC.,

                           Plaintiffs,

      v.

VINCENT K. MCMAHON, STEPHANIE
MCMAHON, PAUL LEVESQUE, FRANK A.
RIDDICK, III, STUART U. GOLDFARB,
LAUREEN ONG, ROBYN W. PETERSON, MAN
JIT SINGH, JEFFREY R. SPEED, ALAN M.
WEXLER, GEORGE A. BARRIOS, and
MICHELLE D. WILSON,

                           Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Nominal Defendant.


DANIEL KOOI, Derivatively on Behalf of          Case No.: 3:20-CV-00743-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                           Plaintiff,

      v.

VINCENT K. MCMAHON, FRANK A.
RIDDICK, III, JEFFREY R. SPEED, PATRICIA
A. GOTTESMAN, STUART U. GOLDFARB,
LAUREEN ONG, PAUL LEVESQUE, ROBYN W.
PETERSON, STEPHANIE MCMAHON, MAN JIT
SINGH, ALAN M. WEXLER, GEORGE A.

[Caption Continued on Next Page]
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BARRIOS, and MICHELLE D. WILSON,

                        Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                        Nominal Defendant.


RODNEY NORDSTROM, Derivatively on Behalf of   Case No. 3:20-CV-00904-VAB
WORLD WRESTLING ENTERTAINMENT,
INC.,

                        Plaintiff,

      v.

VINCENT K. MCMAHON, GEORGE A.
BARRIOS, MICHELLE D. WILSON,
STEPHANIE MCMAHON, PAUL LEVESQUE,
FRANK A. RIDDICK III, STUART U.
GOLDFARB, LAUREEN ONG, ROBYN W.
PETERSON, MAN JIT SINGH, JEFFREY R.
SPEED, ALAN M. WEXLER, and PATRICIA A.
GOTTESMAN,

                        Defendants,

      -and-

WORLD WRESTLING ENTERTAINMENT,
INC.,

                       Nominal Defendant.


MEMORANDUM IN SUPPORT OF DENNIS PALKON’S MOTION FOR PERMISSIVE
   INTERVENTION, APPOINTMENT OF LEAD COUNSEL, AND DENIAL OF
           DEFENDANTS’ MOTIONS TO DISMISS AS MOOT
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       Dennis Palkon (“Proposed Intervenor”), by and through his undersigned counsel,

respectfully submits this Memorandum in support of his Motion for Permissive Intervention (the

“Motion”) in the above-captioned stockholder derivative actions (collectively, the “Actions”)

pursuant to Rule 24 of the Federal Rules of Procedure (“Rule 24”). Proposed Intervenor seeks to

intervene to request: (i) appointment of his counsel as lead counsel; (ii) designation of the Proposed

Complaint in Intervention as the operative complaint; and (iii) that the Court deny as moot

Defendants’1 pending motions to dismiss in light of the new operative complaint.

I.     PRELIMINARY STATEMENT

       These stockholder derivative Actionswhich allege breach of fiduciary duty claims in

connection with insiders misleading the public and selling hundreds of millions of dollars’ worth

of their personally held WWE stockare governed by Delaware law. This case involves a very

large potential recovery for WWE and raises important issues about the conduct of a controlling

stockholder and his controlled board. While Defendants dragged their feet to produce documents

responsive to Proposed Intervenor’s books and records demand pursuant to 8 Del. C. § 220

(“Section 220”), they have worked expeditiously to file motions to dismiss here.

       Defendants’ alacrity here and delay in providing the Section 220 documents is no surprise.

When, as here, a stockholder seeks to pursue a claim belonging in the first instance to the

corporation itself, that stockholder must be prepared to plead with particularity the basis on which

demand on the board of that company is excused. See Fed. R. Civ. P. 23.1; Brehm v. Eisner, 746

A. 2d 244, 254-55 (Del. 2000) (“Chancery Rule 23.1 requires, in part, that the plaintiff must allege


1
  Defendants Vincent K. McMahon, Stephanie McMahon, Paul Levesque, Frank A. Riddick III,
Stuart U. Goldfarb, Laureen Ong, Robyn W. Peterson, Man Jit Singh, Jeffrey R. Speed, Alan M.
Wexler, George A. Barrios, Michelle D. Wilson, and Patricia A. Gottesman are referred to herein
as the “Individual Defendants,” and with nominal defendant World Wrestling Entertainment, Inc.
(“WWE” or the “Company”), are collectively referred to herein as the “Defendants.”


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with particularity facts raising a reasonable doubt that the corporate action being questioned was

properly the product of business judgment.”).        In order to meet these demanding pleading

standards, the Delaware Supreme Court has for decades instructed plaintiff stockholders to use the

“tools at hand,” including the right to obtain corporate books and records pursuant to Section 220,

before precipitously shooting off a breach of fiduciary duty complaint. See, e.g., King v. VeriFone

Holdings, Inc., 12 A.3d 1140, 1145 (Del. 2011) (“Delaware courts have strongly encouraged

stockholder-plaintiffs to utilize Section 220 before filing a derivative action, in order to satisfy

the heightened demand futility pleading requirements of [the analogous] Court of Chancery Rule

23.1.”); see also South v. Baker, 62 A.3d 1, 6 (Del. Ch. 2012) (in dismissing action for failure to

plead demand futility, the court noted that “our Supreme Court has admonished stockholders

repeatedly to use Section 220..., to obtain books and records and investigate their claims before

filing suit”); White v. Panic, 783 A.2d 543, 557 (Del. 2001) (holding that a “pre-suit investigation

in this case may have yielded the particularized facts required to show that demand is excused”).2

       Proposed Intervenor is a large, longtime WWE stockholder that heeded the Delaware

Supreme Court’s instructions to inspect WWE’s internal books and records pursuant to Section

220 before filing a plenary action. Now that Proposed Intervenor has the Company’s internal

books and records (the “Section 220 Documents”), the reasons for the Company’s delay is obvious.




2
  Here, as throughout, all emphasis is added and citations and footnotes are omitted unless
otherwise noted.


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                                 All of the above is spelled out in detail in the Proposed Complaint

in Intervention (the “Proposed Complaint”), attached as Ex. A to the Declaration of William H.

Narwold in support of Proposed Intervenor’s Motion (“Narwold Decl.”).

       In contrast, plaintiffs Ryan Merholz (“Merholz”), Melvyn Klein (“Klein”), Daniel Kooi

(“Kooi”), and Rodney Nordstrom (“Nordstrom”) (collectively, “Plaintiffs”) did not employ the

“tools at hand,” despite the Delaware Supreme Court’s unambiguous command. As a result, their

complaints rest exclusively on publicly available information and lack the detailed information

uncovered by Proposed Intervenor. The Company and its minority stockholders should not see

their valuable claims risked because Plaintiffs failed to follow Delaware’s instructions.

       The election by Plaintiffs here to plead demand futility under Delaware’s challenging

substantive standards—without the benefit of any of the Company’s books and records—

unnecessarily jeopardizes WWE’s viable derivative claims.3 Unless Proposed Intervenor is

allowed to intervene, and the Defendants’ motions to dismiss denied as moot, Plaintiffs’ decision

to file the Actions, without first developing the factual predicate through a careful review of

WWE’s books and records, will preclude a more diligent and better informed stockholder from

pursuing the valuable Delaware state law claims at issue. This outcome would severely prejudice

WWE, the real party in interest in this derivative proceeding, as well as the Company’s minority

stockholders.




3
  WWE is incorporated under the laws of Delaware and, therefore, Delaware’s substantive law
supplies the standard for pleading demand futility. See Kamen v. Kemper Fin. Servs., Inc., 500
U.S. 90, 92 (1991) (holding that an allegation of demand futility is a matter of substantive state
law). Moreover, Rule 23.1 of the Federal Rules of Civil Procedure requires that the facts alleged
in support of demand futility be pled with particularity.


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       Recognizing the challenge of pleading demand futility without first obtaining board

deliberations and other relevant internal documents, the Delaware Supreme Court has also

instructed stockholder plaintiffs to move to intervene where, as here, a derivative action is filed in

the absence of a corporate books and records investigation, so as to avoid extinguishment of those

claims by operation of res judicata. See, e.g., Cal. State Teachers’ Ret. Sys. v. Alvarez, No. 7455-

CB, 2017 WL 6421389, at *4 (Del. Jan. 18, 2017) (“Wal-Mart Remand Order”) (holding that to

preserve claims a stockholder must move to intervene to “ensure that the rendering court would

take into account the litigation pending elsewhere and make a determination as to whether any

dismissal should be with or without prejudice, and as to the named plaintiff only, and what

provision, if any, should be made to protect the interests of the other shareholders litigating in

other fora”).

       Accordingly, Proposed Intervenor seeks to intervene so that he may pursue the Actions

based on the more thoroughly researched Proposed Complaint containing particularized

allegations against the Company’s current and former officers and directors for breaches of

fiduciary duty and unjust enrichment. A complaint filed with the benefit of this nonpublic

information would be in the best interests of the true parties in interest—WWE and its minority

stockholders.

       In the alternative, Proposed Intervenor respectfully requests that any order of dismissal

entered by the Court be with prejudice only to Plaintiffs, and not as to other WWE stockholders.

II.    FACTUAL BACKGROUND

       A.       The Company Conceals Dire Threats to Its MENA Operations

       Proposed Intervenor’s and all of the Plaintiffs’ actions concern the Defendants’ statements

about the Company’s dealings with Orbit Showcase Network (“OSN”), WWE’s attempts to secure




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a new media distribution rights deal, and its vital business in the Middle East and North Africa

region (“MENA”).

       The Company had entered into two relevant agreements in the MENA region. A five-year

arrangement with OSN, a Kuwaiti-controlled direct-broadcast satellite provider, gave OSN

exclusive rights of WWE’s content for its region. In addition, WWE entered into a ten-year

partnership with the Ministry of Sports of Saudi Arabia (a Saudi government body previously

known as, and referenced herein, as the “General Sports Authority”) to host live events in Saudi

Arabia. The OSN deal was set to expire at the end of 2019.

       In November 2018, OSN told WWE that it would terminate their relationship, as OSN was

closing its sports channels. The parties thereafter negotiated a separation agreement, signed on

December 18, 2018 and effective as of March 31, 2019. At this point in time, WWE lacked a

distribution rights agreement for the crucial and growing MENA market. But it did not disclose

this information publicly. At the end of November 2018, WWE controller, defendant Vincent K.

McMahon, sold nearly $23 million worth of his personally held WWE stock.

       Throughout 2019 and into 2020, while aware of the materially negative fact of WWE’s

loss of its valuable OSN agreement, certain of the Individual Defendants sold over $313 million

in WWE stock at inflated prices. Moreover, in an effort to offload their own shares without tipping

off other WWE stockholders, certain of the Individual Defendants made false and misleading

statements concerning WWE’s ability to expand its operations in the MENA region and “renew”

the crucial media rights distribution deal, both of which were necessary for the Company to meet

its financial guidance. To do so, they falsely represented that the Company had continued to

bolster its relationship with Saudi Arabia and was making significant progress on building the

WWE brand in the Middle East.




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        While making false public statements, Defendants also concealed that: (i) WWE was

experiencing rising tensions with the Saudi government; (ii) the Saudi government and its affiliates

had failed to make millions of dollars in payments it owed to the Company; (iii) OSN and WWE

reached an agreement to terminate OSN’s media rights distribution agreement with WWE in

December 2018, effective March 31, 2019; (iv) WWE had failed in its efforts to enter into a

replacement media rights arrangement for the Middle East and thus was operating without a source

of material revenue; and (v) based on the foregoing, WWE did not have the ability to expand its

operations in the MENA region or within Saudi Arabia.

        While Defendants were making false and misleading statements that artificially inflated

the price of WWE’s stock price, certain of the Individual Defendants sold over $313 million of

their stock.

        B.     Procedural History

               1.      The Pending Cases Rest on Public Materials Alone4

        Plaintiffs initiated the Actions without the benefit of any inspection of WWE’s books and

records pursuant to Section 220. (Merholz and Klein, Kooi, and Nordstrom, ECF Nos. 1,

respectively.) While each of the Plaintiffs amended their respective complaints at least once, they

did so again without the benefit of any of WWE’s internal book and records. (Merholz and Klein,

ECF Nos. 7 and 39; Kooi, ECF No. 36; Nordstrom, ECF No. 45). On August 28, 2020, Defendants

moved to dismiss with prejudice Plaintiffs’ state and federal claims under Rule 23.1 (demand

futility) and Rule 12(b)(6) (failure to state a claim) of the Federal Rules of Civil Procedure.

(Merholz and Klein, ECF No. 57; Kooi, ECF No. 67; Nordstrom, ECF No. 59). The Court has


4
 “Merholz and Klein” refers to Merholz, et. al. v. McMahon et al., 20-cv-557. “Kooi” refers to
Kooi v. McMahon et. al., 20-cv-743. “Nordstrom” refers to Nordstrom v. McMahon et. al., 20-cv-
904.


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scheduled a hearing on the motions to dismiss for October 29, 2020.

       Plaintiffs’ amended complaints posit that demand is futile because a majority of WWE’s

Board of Directors (the “Board”) face a substantial likelihood of liability on the underlying claims

and/or are not independent from other Board members who face liability.5 Defendants attempt to

rebut this argument by pointing to the lack of allegations regarding Board members’ knowledge

of the true facts. See Reply Memorandum in Support of Defendants’ Motion to Dismiss (“MTD

Reply”) at 2-7, Merholz and Klein, ECF No. 63; Kooi, ECF No. 76; Nordstrom, ECF No. 66.




                           6



               2.      Proposed Intervenor’s Case Rests on Books and Records

       Proposed Intervenor is a longtime WWE stockholder that owns approximately $300,000

worth of WWE stock. As would be expected of a substantial long-term stockholder, Proposed

Intervenor did not rush to the courthouse door.7




5
 Merholz and Klein, ECF No. 39, ¶¶182-215; Kooi, ECF No. 36, ¶¶83-91; Nordstrom, ECF No.
45, ¶¶126-51.
6
  Ryan v. Gifford, 918 A.2d 341, 357 (Del. Ch. 2007) (“[W]here plaintiff alleges particularized
facts sufficient to prove demand futility under the second prong of Aronson, that plaintiff a fortiori
rebuts the business judgment rule for the purpose of surviving a motion to dismiss pursuant to
[Fed. R. Civ. P.] 12(b)(6).”).
7
 While Plaintiffs have failed to allege when they bought their WWE stock (see MTD Reply at 8-
9, Merholz and Klein, ECF No. 63; Kooi, ECF No. 76; Nordstrom, ECF No. 66), in response to
WWE’s request, Proposed Intervenor provided proof that he has standing to pursue any relevant
derivative action.


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         Rather, after WWE publicly disclosed the true nature of its business dealings in the MENA

region and the related financial impact, counsel for Proposed Intervenor initiated a thorough

investigation and analysis of the public record to evaluate WWE’s Board’s culpability, if any, for

the alleged wrongdoing. Then, having determined that ample grounds existed to pursue an

inspection under Section 220, Proposed Intervenor instructed counsel to prepare a demand under

Section 220 (the “Section 220 Demand”) to inspect corporate books and records, which was sent

on May 6, 2020. See Narwold Decl., Ex. B. Proposed Intervenor’s Section 220 Demand sought

WWE’s internal books and records concerning, among other things: the minutes, presentations,

and deliberations of WWE’s Board; the Company’s internal controls and systems; the role WWE’s

fiduciaries played in disseminating the false and misleading statements and information; stock

sales by the Company’s insiders; and, materials sufficient to demonstrate the independence (or

lack thereof) of WWE’s directors.8

         Importantly, in August 2020, WWE changed its counsel following an adverse decision in

a related securities fraud action pending in the U.S. District Court for the Southern District of New

York. See Narwold Decl., Ex. C. Counsel for Proposed Intervenor was actively in negotiations

with new counsel for WWE regarding its response to the Section 220 Demand, including the

potential scope of document production, but WWE’s new counsel insisted they needed time to get

up to speed. Nevertheless, they were able to draft and file the motions to dismiss the Actions.

Recognizing the potential harm from the pending motions to dismiss, Proposed Intervenor quickly

reviewed the produced Section 220 Documents, which WWE did not complete until October 16,

2020.




8
    See Narwold Decl., Ex. B at 21-23.


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III.   ARGUMENT

       A.      The Court Should Allow Proposed Intervenor to Intervene

       Permissive intervention is appropriate, upon timely motion, as to any nonparty who “has a

claim or defense that shares with the main action a common question of law or fact,” so long as

“the intervention will [not] unduly delay or prejudice the adjudication of the original parties’

rights.” Rule 24(b)(1)(B), (b)(3); see AT&T Corp. v. Sprint Corp., 407 F.3d 560, 561-62 (2d Cir.

2005); Assoc. of Conn. Lobbyists LLC v. Garfield, 241 F.R.D. 100, 102 (D. Conn. 2007). Proposed

Intervenor’s request for permissive intervention satisfies these standards and should be granted to

prevent actual, substantial prejudice to the interests of the real parties in interest—WWE and its

stockholders

               1.     Proposed Intervenor’s Claims Share Numerous Common Questions of
                      Law and Fact with the Actions

       As shown above, Proposed Intervenor has prepared a Proposed Complaint seeking to hold

the Individual Defendants accountable for their corporate misconduct related to, among other

things, WWE’s MENA operations. Defendants’ motions to dismiss seek to exploit the Plaintiffs’

failure to similarly seek the Company’s internal books and records by arguing that the amended

complaints are missing key internal information, such as the involvement of the directors in the

false and misleading statements. See, e.g., Motions to Dismiss at 2, 14, 17, and 28, Merholz and

Klein, ECF No. 57; Kooi, ECF No. 67; Nordstrom, ECF No. 59 (criticizing Plaintiffs’

“conclusory” assertions that defendants “‘allowed,’ ‘authorized’ and/or ‘permitted’ the

[misleading] statements to be disseminated”).



       Having met this threshold requirement that the Actions arise from the same operative facts

and involve substantially identical state law claims, the decision whether to permit intervention



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lies within the sound discretion of the Court. See U.S.P.S. v. Brennan, 579 F.2d 188, 191 (2d Cir.

1978); AT&T Corp., 407 F.3d at 561; John Wiley & Sons, Inc. v. Book Dog Books, LLC, 315

F.R.D. 169, 172 (S.D.N.Y. 2016).

                  2.   Proposed Intervenor’s Motion Is Timely and Would Impose No Undue
                       Delay or Prejudice in the Adjudication of the Original Parties’ Rights

       In determining the timeliness of a motion for permissive intervention, the Court should

consider “whether the intervention will unduly delay or prejudice the adjudication of the original

parties’ rights.” Rule 24(b)(3). In this context, courts “‘measure[] prejudice caused by the

intervenors’ delay—not by the intervention itself.’“ Utah Ass’n of Ctys. v. Clinton, 255 F.3d 1246,

1251 (10th Cir. 2001) (citing Ruiz v. Estelle, 161 F.3d 814, 828 (5th Cir. 1998)). In addition to

Rule 24(b)(3)’s requirements, courts consider other factors in determining whether permissive

intervention is appropriate, such as:

       (1) whether the applicant will benefit by intervention, (2) the nature and extent of
       the intervenors’ interests, (3) whether [the intervenors’] interests are adequately
       represented by the other parties, and (4) whether parties seeking intervention will
       significantly contribute to full development of the underlying factual issues in the
       suit and to the just and equitable adjudication of the legal questions presented.

Ass’n of Conn. Lobbyists LLC, 241 F.R.D. at 102 (quoting Schaghticoke Tribal Nation v. Norton,

No. 3:06cv81(PCD), 2006 WL 1752384, at *8 (D. Conn. June 14, 2006) (citing Brennan, 579 F.2d

at 191-92) (internal quotations omitted)). Under these standards, Proposed Intervenor’s Motion is

clearly timely.

       First, Proposed Intervenor has filed the instant Motion in a timely manner. After WWE

disclosed the true nature and impact of its business dealings in the MENA region, Proposed

Intervenor investigated possible derivative claims based on the public record. Rather than rush to

the courthouse with a complaint predicated solely on publicly available information, Proposed

Intervenor heeded the Delaware Supreme Court’s instructions. See, e.g., Rales v. Blasband, 634



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A.2d 927, 934 n.10 (Del. 1993) (“Surprisingly, little use has been made of section 220 as an

information-gathering tool in the derivative context. Perhaps the problem arises in some cases out

of an unseemly race to the court house, chiefly generated by the ‘first to file’ custom seemingly

permitting the winner of the race to be named lead counsel. The result has been a plethora of

superficial complaints that could not be sustained.”).

       Upon determining that facts in the public record supported the requisite proper purpose for

seeking to inspect documents, i.e., to determine whether WWE may have meritorious claims

against culpable fiduciaries and whether there were grounds to allege the futility of making a

litigation demand on the Board, Proposed Intervenor sent the Section 220 Demand to WWE on

May 6, 2020. After engaging in good faith with WWE’s counsel but seeing WWE delay while

pushing ahead to seek dismissal here, Proposed Intervenor had to threaten to file an action under

Section 220 seeking to enforce his rights. It was only then that WWE produced the Section 220

Documents with the needed alacrity. Proposed Intervenor quickly reviewed the Section 220

Documents as they were produced and drafted the Proposed Complaint.

       Second, Proposed Intervenor’s Motion comes at a very early stage in the proceedings.

Plaintiffs have yet to establish their standing to proceed derivatively on behalf of WWE.

Permissive intervention under Rule 24(b) is timely even after defendants have moved for

dismissal, when “a case schedule has [not] even been set.” See Narwold Decl. Ex. D, In re

Alphabet Inc. S’holder Derivative Litig., C.A. No. 10-cv-06880-RS (N.D. Cal. June 9, 2020)

(ORDER) at 4-6 (granting a stay of 120 days renewable upon good cause shown pending

intervenor’s Section 220 investigation).

       Proposed Intervenor’s Motion imposes no prejudice on any party. In contrast, the failure

to allow intervention now will prejudice the real party in interest, WWE, as the viability of any




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derivative claims will not be tested against a complaint bolstered with the Company’s internal

documents concerning the underlying wrongdoing.

       Third, neither Plaintiffs nor Defendants in the Actions can identify any legally cognizable

prejudice if intervention is permitted. See generally Spangler v. Pasadena City Bd. of Educ., 552

F.2d 1326, 1329 (9th Cir. 1977) (courts should consider “the legal position [the proposed

intervenors] seek to advance, and its probable relation to the merits of the case”). Plaintiffs have

no proprietary interest in WWE’s claims and have yet to establish their standing to pursue them.

See Ross v. Bernhard, 396 U.S. 531, 538 (1970) (“The [derivative] claim pressed by the

stockholder against directors or third parties ‘is not his own but the corporation’s.’“); La. Mun.

Police Emps.’ Ret. Sys. v. Pyott, 46 A.3d 313, 327-28 (Del. Ch. 2012) judgment rev’d 74 A.3d 612

(Del. 2013) (“a stockholder whose litigation efforts are opposed by the corporation does not have

authority to sue on behalf of the corporation until there has been a finding of demand excusal or

wrongful refusal”); Bell Atl. Corp. v. Bolger, 2 F.3d 1304, 1307-08 n.4 (3d Cir. 1993) (“In

derivative suits, unlike shareholder class actions, recoveries belong to the corporation on whose

behalf the suit was brought.”).

       Plaintiffs and their counsel have no interest that is not shared by WWE. In fact, Plaintiffs

and their counsel share a duty to act solely in WWE’s best interests, heedless of any personal

interest they may have at stake in this proceeding. Tansey v. Rogers, No. 12-1049-RGA, 2016

WL 3519887, at *2 (D. Del. June 27, 2016) (“Shareholder-plaintiffs are asserting a corporation’s

right to seek redress for a harm to the corporation, and any recovery in a derivative action belongs

only to the corporation.”); Levine v. Smith, 591 A.2d 194, 200 (Del. 1991) overruled by Brehm,

746 A.2d at 244 (stockholder in derivative action “asserts on behalf of a corporation a claim

belonging not to the shareholder, but to the corporation”).




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       Likewise, Defendants have no legitimate interest in pursuing a preclusive judgment based

on pleadings challenges to complaints uninformed by the materials sought and reviewed by

Proposed Intervenor through his diligent use of Section 220. For Defendants to claim such an

interest as a basis to oppose the limited relief sought here by Proposed Intervenor is the very

embodiment of Defendants engaging in plaintiff shopping.

       Finally, any finding of prejudice would undermine the carefully calibrated scheme of

substantive law that Delaware’s legislature and courts have erected to maintain the proper balance

between board prerogatives to make decisions about litigation for their corporations and

stockholders’ rights to pursue claims on behalf of corporations. Wal-Mart Remand Order, 2017

WL 6421389, at *4 (admonishing Delaware plaintiffs to intervene to protect “fruits of their

extensive Section 220 efforts” on behalf of Wal-Mart Stores, Inc.).

       Accordingly, an examination of the relevant circumstances demonstrates that Proposed

Intervenor’s Motion is timely.

       B.      Proposed Intervenor, WWE, and WWE’s Stockholders Will Be Prejudiced if
               the Court Denies Intervention

       The real parties in interest—WWE and its stockholders—face irreparable injury if the

Motion is denied. Proceeding with pleadings challenges to the state law claims asserted without

the benefit of a books and records inspection could result in an order dismissing such claims with

prejudice, thereby terminating the claims by operation of collateral estoppel or res judicata. Pyott

v. La. Mun. Police Emps.’ Ret. Sys., 74 A.3d 612, 617-18 (Del. 2013) (dismissing Delaware

derivative action on collateral estoppel grounds and noting that California and “numerous other

jurisdictions have held that there is privity between derivative stockholders”); Wal-Mart Remand

Order, 2017 WL 6421389, at *4 (“[T]here is much force in the suggestion that the Delaware

Plaintiffs should have sought to intervene in the Arkansas court to protect their interests—


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notwithstanding the fact that they had not yet obtained the documents they were seeking—a fact

that was already known to the Arkansas court.”); see also Narwold Decl., Ex. E, Sbriglio, et al. v.

Zuckerberg, et al., C.A. No. 2018-0307-JRS (Del. Ch. Dec. 17, 2018) (TRANSCRIPT) at 58-62

(granting permissive intervention and stay of derivative action until conclusion of intervenors’

Section 220 demand, due to irreparable risk intervenors would get “Wal-Marted,” i.e., “collaterally

estopped from challenging an adverse ruling on defendants’ motion to dismiss”).9

       Any decision in the pending Actions, whether on the issue of demand futility or on the

merits, could have an adverse—and potentially dispositive—effect on Proposed Intervenor’s

ability to bring a subsequent suit based on additional nonpublic information obtained through

prosecuting his use of Section 220. Despite this unseemly result, many courts could feel obliged

out of comity to respect the preclusion rules of this Court, which could prevent any other WWE

investor from pursuing particularized derivative claims supported by WWE’s internal

documents.10 See In re Wal-Mart Stores, Inc. Del. Derivative Litig., No. CV 7455-CB, 2016 WL



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  Proposed Intervenor does not concede that an adverse ruling in the pending Actions, including
dismissal on Federal Rule of Civil Procedure 23.1 grounds, would have any preclusive effect on a
subsequently filed derivative action, but the risk is material and unnecessary.
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   As observed by the Delaware Court of Chancery, “[t]he preclusive effect of a federal-court
judgment is determined by federal common law.” Cal. State Teachers’ Ret. Sys. v. Alvarez, 179
A.3d 824 (Del. 2018) (“Wal-Mart III”); see also Marvel Characters, Inc. v. Simon, 310 F.3d 280,
286 (2d. Cir. 2002) (applying “federal law in determining the preclusive effect of a federal
judgment”). In the Second Circuit, an issue is collaterally estopped if the party invoking the
doctrine can demonstrate, among other things, the party against whom collateral estoppel is
asserted was a party to the prior action, or is in privity with a party to the prior action. See Conte
v. Justice, 996 F.2d 1398, 1400 (2d Cir. 1993) (“The doctrine of collateral estoppel prevents a
party from relitigating an issue clearly raised in a prior action and decided against that party or
those with whom they share privity.”). Accordingly, federal common law would impose on the
state of Delaware, or another state court, a full-faith-and-credit requirement to give a Connecticut
federal court judgment with prejudice the same force and effect as it would be entitled to under
the Delaware federal court’s preclusion rules. Pyott, 74 A.3d at 616-17.




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2908344 (Del. Ch. May 13, 2016) (“Wal-Mart I”), supplemented, 167 A.3d 513, 515 (Del. Ch.

2017) (“Wal-Mart II”) (finding on remand principles of comity required deference to foreign

court’s dismissal of fast-filer’s complaint despite other stockholders using “tools at hand” to obtain

Section 220 documents “before filing derivative litigation so that the issue of demand futility may

be decided on a well-developed factual record”) (emphasis in original); see also Wal-Mart III, 179

A.3d at 847 (affirming Wal-Mart I’s granting of motion dismiss on collateral estoppel grounds as

“differing groups of stockholders who seek to control the corporation’s cause of action share the

same interest and therefore are in privity”).11

       It is axiomatic under Delaware law that attempting to plead demand futility without the

benefit of facts gleaned from an inspection of corporate books and records is an extremely risky

and often dubious proposition. Delaware’s carefully calibrated scheme of rules and presumptions

applicable to derivative litigation would be fundamentally undermined if parties who did not avail

themselves of inspection demands were permitted to rush to a non-Delaware courthouse and

jeopardize otherwise viable and valuable claims putatively brought on behalf of the corporation,

not the particular plaintiff or their counsel. See King, 12 A.3d at 1145 (“Delaware courts have

strongly encouraged stockholder-plaintiffs to utilize Section 220 before filing a derivative action,

in order to satisfy the heightened demand futility pleading requirements of Court of Chancery Rule

23.1.”); Rales, 634 A.2d at 934 n.10 (criticizing the “race to the court house” as harming


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   Accord Asbestos Workers Local 42 Pension Fund v. Bammann, No. 9772-VCG, 2015 WL
2455469, at *15 (Del. Ch. May 21, 2015), as revised (May 22, 2015) (applying collateral estoppel
to dismiss derivative complaint because demand futility had been litigated and issues were
substantially similar); Fuchs Family Tr. v. Parker Drilling Co., No. CV 9986-VCN, 2015 WL
1036106, at *5 (Del. Ch. Mar. 4, 2015) (holding in a Section 220 case that collateral estoppel
barred plaintiffs from pursuing derivative claim); Respler v. Evans, 17 F. Supp. 3d 418, 421 (D.
Del. 2014) (holding case collaterally estopped because Texas court had found demand not futile);
Pyott, 74 A.3d at 614-17 (holding case collaterally estopped because California case without
Section 220 documents had been dismissed for failure to plead demand futility).


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stockholders and noting, “[n]othing requires the Court of Chancery, or any other court having

appropriate jurisdiction, to countenance this process by penalizing diligent counsel who has

employed these methods, including section 220, in a deliberate and thorough manner in preparing

a complaint that meets the demand excused test of Aronson.”).

       The substantial prejudice to the interests of the real parties in interest (WWE and its

stockholders) is precisely why the Delaware Supreme Court has repeatedly admonished

stockholders who pursue Section 220 inspections that they must seek to intervene in any derivative

action not predicated on an inspection of books and records.

       C.      The Proposed Intervenor’s Complaint Is Materially Superior

       The main thrust of Plaintiffs’ argument for excusal of demand is that a majority of the

Board faces a substantial likelihood of liability. Defendants, in turn, have argued that the

“Plaintiffs do not make any particularized allegations concerning the Outside Directors’ conduct

from which knowledge [of the wrongdoing or falsity of the statements] could be inferred, relying

instead solely (and impermissibly) on their status.” See MTD Reply at 4, Merholz and Klein, ECF

No. 63; Kooi, ECF No. 76; Nordstrom, ECF No. 66. The Proposed Complaint does not suffer

from a similar defect.

       In contrast to Plaintiffs’ complaints,




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                                                              These are just some of the many and

vital details contained in the Proposed Complaint that are missing from Plaintiffs’ complaints.

       D.      The Relief Proposed Intervenor Seeks Is Carefully Crafted to Avoid Any
               Undue Imposition on the Court’s Exercise of Jurisdiction and Management of
               Its Calendar

       Proposed Intervenor seeks relief that concomitantly imposes no undue burden on this

Court’s exercise of its jurisdiction and avoids any undue prejudice as to Plaintiffs or WWE.

Granting the intervention will ensure that the best derivative claims on WWE’s behalf asserted

under Delaware law will be pursued, informed by a careful review of all relevant material obtained

in Proposed Intervenor’s investigation. In other words, Proposed Intervenor is better situated to

challenge a motion to dismiss with particularized claims informed by internal books and records

obtained through the Section 220 process—the very “tools at hand” prescribed by Delaware courts.

       In the alternative, if the Court determines that the motions to dismiss should move forward,

Proposed Intervenor respectfully requests that, to the extent that the Court enters any dismissal or

other adverse ruling, that such dismissal or other adverse ruling be with prejudice only to Plaintiffs

in the Actions, and without prejudice to Proposed Intervenor or other WWE stockholders. See

Wal-Mart Remand Order, 2017 WL 6421389, at *4 (“Delaware Plaintiffs should have sought to

intervene…. Such an attempt to intervene, even if unsuccessful, would ensure that the rendering

court would take into account the litigation pending elsewhere and make a determination as to

whether any dismissal should be with or without prejudice, and as to the named plaintiff only[.]”).




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IV.    CONCLUSION

       For the foregoing reasons, Proposed Intervenor respectfully requests that this Court grant

his Motion for Permissive Intervention.

Dated: October 23, 2020                          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 23, 2020, I electronically filed the above-titled document

with the Clerk of Court using the CM/ECF system which will send notification of such filing to

those registered as CM/ECF participants.

                                                 /s/ William H. Narwold
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